

City of New York v Philadelphia Indem. Ins. Co. (2023 NY Slip Op 00233)





City of New York v Philadelphia Indem. Ins. Co.


2023 NY Slip Op 00233


Decided on January 19, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 19, 2023

Before: Renwick, J.P., Webber, Moulton, González, Rodriguez, JJ. 


Index No. 450527/19 Appeal No. 17136 Case No. 2022-01493 

[*1]The City of New York et al., Plaintiffs-Respondents,
vPhiladelphia Indemnity Insurance Company, Defendant-Appellant, Bronxworks Inc., Defendant.





An appeal having been taken to this Court by the above-named appellant from an order of the Supreme Court, New York County (Louis L. Nock, J.), entered on or about March 25, 2022,
And said appeal having been argued by counsel for the respective parties; and due deliberation having been had thereon, and upon the stipulation of the parties hereto dated January 17, 2023,
It is unanimously ordered that said appeal be and the same is hereby withdrawn in accordance with the terms of the aforesaid stipulation.
ENTERED: January 19, 2023








